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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS



ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
                                                       Civil Action No. 18-cv-11028
               Plaintiffs,

                       v.
                                                       JURY TRIAL DEMANDED
MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,

               Defendants.



                             CORPORATE DISCLOSURE STATEMENT

        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, plaintiff Analog Devices,

 Inc. states that it has no parent corporation, and that to the best of its knowledge at this time,

 there is no publicly held corporation that owns 10% or more of its stock.

      Dated: May 21, 2018                             Respectfully submitted,

                                                      ANALOG DEVICES, INC.

                                                      By their attorneys,

                                                      /s/ Steven M. Bauer
                                                      Steven M. Bauer (BBO No. 542531)
                                                      Kimberly A. Mottley (BBO No. 651190)
                                                      Safraz W. Ishmael (BBO No. 657881)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on May 21, 2018, I electronically filed the foregoing with the Clerk
of the Court by using CM/ECF system. A copy of the document will be served upon all parties
along with the summons and complaint.

                                               /s/ Steven M. Bauer
                                               Steven M. Bauer




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